 Fill in this information to identify your case:

 Debtor 1                  MATTHEW REINHARDT
                           First Name                       Middle Name                 Last Name

 Debtor 2
 (Spouse if, filing)       First Name                       Middle Name                 Last Name


 United States Bankruptcy Court for the:              EASTERN DISTRICT OF MICHIGAN

 Case number            19-40506
 (if known)
                                                                                                                                          Check if this is an
                                                                                                                                          amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                    4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

           You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

 Debtor 1 Exemptions
   351 EAST BAKER Clawson, MI 48017                                  $140,000.00                               $38,250.00      Mich. Comp. Laws §
   Oakland County                                                                                                              600.5451(1)(m)
   Line from Schedule A/B: 1.1                                                             100% of fair market value, up to
                                                                                           any applicable statutory limit

      2004 CHEVROLET COLORADO PICK                                     $2,500.00                                 $2,500.00     Mich. Comp. Laws §
      UP 100,000 miles                                                                                                         600.5451(1)(g)
      DRIVEN BY HUSBAND'S PARENTS,                                                         100% of fair market value, up to
      AT THEIR RESIDENCE, JOINTLY                                                          any applicable statutory limit
      OWNED WITH MOM
      Line from Schedule A/B: 3.1

      2005 HONDA                                                          $500.00                                  $500.00     Mich. Comp. Laws §
      ATV, at husband's parents' cottage,                                                                                      600.5451(1)(g)
      4616 Hilltop AU SABLE TWP MI                                                         100% of fair market value, up to
      48730                                                                                any applicable statutory limit
      Line from Schedule A/B: 3.2

      MISCELLANEOUS FURNTURE &                                         $3,000.00                                 $1,500.00     Mich. Comp. Laws §
      APPLIANCES                                                                                                               600.5451(1)(c)
      Line from Schedule A/B: 6.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                      page 1 of 4
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     Brief description of the property and line on             Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     COMPUTER AND PERIPHERALS,                                        $1,000.00                                    $500.00     Mich. Comp. Laws §
     TWO TVS, DVD PLAYERS                                                                                                      600.5451(1)(c)
     Line from Schedule A/B: 7.1                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     BASEBALL MITT AND SHOES,                                            $100.00                                   $100.00     Mich. Comp. Laws §
     FISHING POLE & EQUIPMENT,                                                                                                 600.5451(1)(a)(ii)
     Line from Schedule A/B: 9.1                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     MISCELLANEOUS CLOTHING                                           $1,000.00                                    $500.00     Mich. Comp. Laws §
     Line from Schedule A/B: 11.1                                                                                              600.5451(1)(a)(iii)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit


                                                                          $30.00                                    $30.00     Mich. Comp. Laws §
                                                                                                                               600.5451(1)(c)
     tungsten wedding band                                                                 100% of fair market value, up to
     Line from Schedule A/B: 12.1                                                          any applicable statutory limit

     401K: 401K                                                       $6,002.00                                  $3,147.00     Mich. Comp. Laws §
     Line from Schedule A/B: 21.1                                                                                              600.5451(1)(k)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

 3. Are you claiming a homestead exemption of more than $160,375?
    (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
           No
           Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                   No
                   Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                      page 2 of 4
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 Fill in this information to identify your case:

 Debtor 1
                           First Name                       Middle Name                 Last Name

 Debtor 2                  KRISTEN REINHARDT
 (Spouse if, filing)       First Name                       Middle Name                 Last Name


 United States Bankruptcy Court for the:              EASTERN DISTRICT OF MICHIGAN

 Case number            19-40506
 (if known)
                                                                                                                                          Check if this is an
                                                                                                                                          amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                    4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
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case number (if known).

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specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
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 Part 1:        Identify the Property You Claim as Exempt

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           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

 Debtor 2 Exemptions
   MISCELLANEOUS FURNTURE &                                           $3,000.00                                  $1,500.00     Mich. Comp. Laws §
   APPLIANCES                                                                                                                  600.5451(1)(c)
   Line from Schedule A/B: 6.1                                                             100% of fair market value, up to
                                                                                           any applicable statutory limit

      COMPUTER AND PERIPHERALS,                                       $1,000.00                                    $500.00     Mich. Comp. Laws §
      TWO TVS, DVD PLAYERS                                                                                                     600.5451(1)(c)
      Line from Schedule A/B: 7.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

      MISCELLANEOUS CLOTHING                                          $1,000.00                                    $500.00     Mich. Comp. Laws §
      Line from Schedule A/B: 11.1                                                                                             600.5451(1)(a)(iii)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      .25 KARAT DIAMOND RING (part of                                     $100.00                                  $250.00     Mich. Comp. Laws §
      diamond display fell out?                                                                                                600.5451(1)(c)
      Line from Schedule A/B: 12.2                                                         100% of fair market value, up to
                                                                                           any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                      page 3 of 4
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     Brief description of the property and line on             Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B
 3. Are you claiming a homestead exemption of more than $160,375?
    (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
           No
           Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                   No
                   Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                      page 4 of 4
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                                                            UNITED STATES BANKRUPTCY COURT
                                                              EASTERN DISTRICT OF MICHIGAN

                                                                COVER SHEET FOR AMENDMENTS

                           MATTHEW REINHARDT
 Case Name:                KRISTEN REINHARDT                                                  Case No.:    19-40506

DESCRIBE INFORMATION BEING AMENDED BY CHECKING APPLICABLE BOX(ES) BELOW:

      Amendment to Petition:
             Name      Debtor(s) Mailing Address      Alias
             Signature     Complying with Order Directing the Filing of Official Form(s)
      Summary of Your Assets and Liabilities and Certain Statistical Information
      Statement of Financial Affairs
      Schedules and List of Creditors:
          Schedule A/B
          Schedule C          Debtor 2 Schedule C
          List of Creditors Schedule D        Schedule E/F and
               Add creditor(s), provide address of creditor already on the List of Creditors, change amount or classification of
          debt - $31 Fee Required, or
               Change address of a creditor already on the List of Creditors - No Fee Required
          Schedule G
          Schedule H
          Schedule I
          Schedule J
          Schedule J-2
      NOTE: Use Page 2 for any corrections or additions to the List of Creditors.
 Additional Details of Amendment(s):




             DECLARATION OF ATTORNEY: I declare that the above information contained on this cover sheet may
             be relied upon by the Clerk of the Court as a complete and accurate summary of the information
             contained in the documents attached.
 Date                               Signature
 March 19, 2019                                   /s/ KURT A. OKEEFE
             AFFIRMATION OF DEBTOR(S): I declare under penalty of perjury that I have read this cover sheet and
             the attached schedules, lists, statements, etc., and that they are true and correct to the best of my
             knowledge, information and belief.
 Date                              Signature
 March 19, 2019                                   /s/ MATTHEW REINHARDT
 Date                                             Signature
 March 19, 2019                                   /s/ KRISTEN REINHARDT




                                                                               1
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                                                       CORRECTIONS TO THE LIST OF CREDITORS
Use this section to make corrections to the name(s) and address(es) of any creditor(s) listed on the current
schedules and List of Creditors.
 PREVIOUS NAME/ADDRESS OF CREDITOR:                                            PLEASE CHANGE TO:
                                                                               -NONE-




                                                          ADDITIONS TO THE LIST OF CREDITORS
Use this section to identify creditors added to the schedules and List of Creditors.
 NAME OF CREDITOR:

 ADDRESS:



 NAME OF CREDITOR:

 ADDRESS:



 NAME OF CREDITOR:

 ADDRESS:


                        FOR ADDITIONAL CORRECTIONS/ADDITIONS, COPY THIS SHEET AND CONTINUE.




                                                                               2
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                                                               United States Bankruptcy Court
                                                                     Eastern District of Michigan
            MATTHEW REINHARDT
 In re      KRISTEN REINHARDT                                                                           Case No.   19-40506
                                                                                 Debtor(s)              Chapter    7

 KURT A. OKEEFE P30718
 Attorney(s) for Debtor(s)
 Kurt A. O'Keefe
 1593 TORREY ROAD
 Grosse Pointe Woods, MI 48236-2330
 313-962-4630
 KOKLAW@GMAIL.COM



                                                                     STATEMENT OF PURPOSE

            The purpose of:              claiming appropriate homestead exemption on schedule C         .

dated: March 19, 2019


The information disclosed in the attached amended document is as represented to me by the Debtor.


 /s/ KURT A. OKEEFE
 KURT A. OKEEFE P30718
 Kurt A. O'Keefe
 Attorney(s) for Debtor(s)


Debtors declare under penalty of perjury that the information in the attached amended document is true to the best of our
knowledge, information and belief.



 /s/ MATTHEW REINHARDT                                                                       /s/ KRISTEN REINHARDT
 MATTHEW REINHARDT                                                                           KRISTEN REINHARDT




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